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     Attorneys for U.S. Bank National Association
8    24-08912-US-AZ
9                        IN THE UNITED STATES BANKRUPTCY COURT
10                                 FOR THE DISTRICT OF ARIZONA
11

12   IN RE:                                                                   Chapter 13
13   Anthony Leo Montez                                             Case No. 4:24-bk-09671-BMW
14                                                                      (Related to Docket #41)
15                  Debtor.
                                                            U.S. BANK NATIONAL ASSOCIATION’S
                                                            RESPONSE TO DEBTOR’S PETITION TO
16                                                             CHALLENGE PROOF OF CLAIM
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              U.S. Bank National Association (“U.S. Bank”), a secured creditor, by its attorneys, TIFFANY &
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     BOSCO, P.A., hereby files this response to the Petition to Challenge Proof of Claim (“Objection”) filed by
21
     the Debtor.
22
     U.S. Bank did not issue the 1099-C
23            The Debtor’s entire challenge to U.S. Bank’s Proof of Claim #4 is the alleged issuance of a 1099-
24   C. There are several problems with this challenge by the Debtor. First and foremost, U.S. Bank has
25   researched the records for this account, and it does not show the issuance of the 1099-C. U.S. Bank is
26   acutely aware of its obligation of candor to the Court. It will continue its research, and to the extent it




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1    learns of any information to the contrary, this response will be immediately supplemented. With that said,
2    U.S. Bank’s research thus far does not show an issuance of the 1099-C. This begs the question, how was it
3    issued? Upon information and belief, it apparently was prepared by the Debtor or by someone on behalf of
4    the Debtor. Debtor’s Objection is therefore meritless.
5           While Debtor’s Objection is straightforward, Debtor’s actions refute his claim that this debt has
6    been canceled unilaterally by U.S. Bank. Debtor is currently in loss mitigation efforts with U.S. Bank.
7    Additionally, the Chapter 13 Plan filed by the Debtor provides for U.S. Bank’s debt as follows:
8           Debtor lists U.S. Bank as a Secured Creditor under Section (4)(c) of the Plan. Debtor proposes to
            pay $32,978.86 in pre-petition arrears and post-petition payments through Conduit.
9
            The inconsistency is apparent. Debtor in his challenge to the Proof of Claim claims the debt has
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     been canceled and that he owes nothing on this debt. Contemporaneously he is actively engaging in loss
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     mitigation, and he is providing for the debt in his Chapter 13 Plan.
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     Authorities
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             Bankruptcy Courts have long recognized that the filing of a Proof of Claim constitutes prima
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     facie evidence of the amount and validity of the claim. In re Nussman, 501 B.R. 297 (E.D. North
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     Carolina October 28, 2013). If a Debtor objects to this Proof of Claim, the burden of proof then shifts to
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     the Debtor to present sufficient evidence to rebut the claim’s validity. In re Lee, 660 B.R. 763 (D. South
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     Carolina June 5, 2024)
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            Even despite questions of authenticity of Debtor’s 1099-C form, Debtor’s argument that the
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     issuance of such a form precludes further collection is misguided. Debtor cites In re Reed for the
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     purposes of his argument; however, this case clearly states the IRS, “does not view a Form 1099-C as an
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     admission by the creditor that it has discharged the debt and can no longer pursue collection.” 492 B.R.
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     261 (Bankr. E.D. Tenn. 2013). The Court in this case holds to this idea as a matter of law but believes
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     there may be equitable considerations in specific cases. This is by no means a deviation of the clear
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     majority stance that the issuance of the form alone is not sufficient evidence that the debt has been
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     canceled. In re Washington, 581 B.R. 150 (D. South Carolina March 24, 2017). To further entrench this
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     point, the majority of courts have distinguished this document as functioning as an administrative or



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1    reporting requirement that does not fully constitute the total information needed to legally discharge a
2    debt. In re Lambert, 655 B.R. 841 (Northern District of Georgia October 6, 2023).
3           With obvious authenticity concerns regarding the claimed 1099-C form paired with a
4    consistently held court stance that the 1099-C cannot constitute the entirety of the sufficient evidence,
5    one cannot imagine that the case at hand has achieved even the “equitable considerations” that ushered
6    in the United States Bankruptcy Court for the Eastern District of Tennessee’s in depth review in In re
7    Reed. Here, Debtor has not met his burden of proof to rebut U.S. Bank’s Proof of Claim. Accordingly,
8    Debtor’s Objection must be denied.
9           WHEREFORE, Secured Creditor prays as follows:
10          1. That Debtor’s Objection to Secured Creditor’s Proof of Claim be denied;
11          2. For attorney’s fees and costs incurred herein;
12          3. For such other and further relief as this Court deems just and proper.
13          DATED this 17th day of January, 2025.
14                                                         Respectfully submitted,
15                                                         TIFFANY & BOSCO, P.A.

16                                                         BY: /s/ Leonard J. McDonald #014228
                                                                 Mark S. Bosco
17                                                               Leonard J. McDonald
                                                                 Attorneys for Secured Creditor
18

19
     COPY of the foregoing mailed
     January 17, 2025 to:
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     Anthony Leo Montez, Estate
21   42080 W Anne Lane
     Maricopa, AZ 85138
22   Debtor
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     Dianne C. Kerns
24   31 N. 6th Avenue
     #105-152
25   Tucson, AZ 85701
     Trustee
26




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